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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                   )      Case №: 1:18-CR-00253-2-
                                                  )
9                     Plaintiff,                  )                    ORDER
                                                  )               APPOINTING COUNSEL
10            vs.                                 )
                                                  )
11    ELIAS ZAMBRANO, JR.,                        )
                                                  )
12                    Defendant.                  )
                                                  )
13
             The above named Defendant has, under oath, sworn or affirmed as to his financial
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15    inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16    obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17    justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
             IT IS HEREBY ORDERED that Richard M. Oberto be appointed to represent the above
19
      defendant in this case for seeking Early Termination of Supervised Release, effective nunc pro
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      tunc to June 18, 2024.
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22           This appointment shall remain in effect until further order of this court.

23
      IT IS SO ORDERED.
24
25       Dated:     June 21, 2024                               /s/ Barbara A. McAuliffe               _
                                                         UNITED STATES MAGISTRATE JUDGE
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